     Case: 1:20-cv-01226 Document #: 7 Filed: 03/27/20 Page 1 of 2 PageID #:21




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Lynn Letizi,
                                                   Case No. 20-cv-1226
               Plaintiff,

       v.                                          Hon. Matthew F. Kennelly

IQ Data International, Inc.; Legend Park           Magistrate Judge:
Apartments of Schaumburg, LLC,                     Hon. Sheila M. Finnegan

               Defendants.
                                                   JURY TRIAL DEMANDED

                        NOTICE OF SETTLEMENT IN PRINCIPLE

PLEASE TAKE NOTICE that the above-captioned matter has been resolved between the

parties in principle pending the exchange and approval of final settlement papers. Plaintiff

respectfully requests that this Honorable Court retain jurisdiction over this matter pending

her anticipated filing of a Notice of Dismissal herein under Rule 41(a)(1)(A)(i).


                                           Respectfully submitted,

                                           s/Steven J. Uhrich

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     Case: 1:20-cv-01226 Document #: 7 Filed: 03/27/20 Page 2 of 2 PageID #:22




                              CERTIFICATE OF SERVICE

I hereby certify that on March 27, 2020, a copy of the foregoing was served on all
counsel of record via electronic mail via the Court’s cm/ecf system.



                                              /s/ Steven J. Uhrich
                                              Attorney for Plaintiff
